                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION
                                   __________________


LG ELECTRONICS U.S.A., INC.,                    )            Case No. 08 C 242
a subsidiary of LG Electronics, Inc.,           )
a Korean company,                               )            Honorable Amy J. St. Eve
                                                )
               Plaintiff,                       )            Magistrate Judge Mason
                                                )
v.                                              )
                                                )
WHIRLPOOL CORPORATION,                          )
                                                )
               Defendant.                       )


                                        BILL OF COSTS

       Defendant Whirlpool Corporation, by its attorneys, pursuant to Federal Rules of Civil

Procedure 54(d)(1) and 26(b)(4)(C) and United States District Court for the Northern District of

Illinois Local Rule 54.1 respectfully requests that the Court tax the following costs against

Plaintiff LG Electronics U.S.A., Inc., stating as follows:

                                          ARGUMENT

1.     Fees of the clerk and marshal – Section 1920(1)

       Whirlpool requests fees for the service of subpoenas to third party witnesses identified by

LG in its discovery responses, which are recoverable under Section 1920(1). Whirlpool

recognizes that service fees “may not exceed the amount charged by the United States Marshal

Service[.]” Black & Decker v. Bosch Tools, No. 04 C 7955, 2006 WL 3883921, at *2 (N.D. Ill.

Nov. 20, 2006) (St. Eve, J.). According to the Code of Federal Regulations, the fee for process

served by the U.S. Marshals Service is “$55 per hour (or portion thereof) for each item served[.]”
28 C.F.R. § 0.114(a)(3). Although Whirlpool used a private process service that charged a larger

flat fee, Whirlpool has reduced its requested amount to $55.00 per service for a total of

$1,045.00. Whirlpool has attached a spreadsheet summarizing these invoices, along with the

supporting invoices from the private process service.1 See Exhibit A.

2.     Court Reporting and Transcription Fees – Section 1920(2)

       a.      Court reporter fees

       Court reporter attendance fees may be recovered under Section 1920(2). Held v. Held,

137 F.3d 998, 1002 (7th Cir. 1998). The ordinary rate for court reporter attendance fees charged

ranged from $35.00 per hour to $51.00 per hour. Exhibit B. Court reporter attendance fees

ranging from $35.00 per hour to $95.00 per hour have been found to be reasonable. McDonald

v. Village of Winnetka, No. 00 C 3199, 2003 WL 1989656, at *1 (N.D. Ill. Apr. 30, 2003).

       A premium court reporter attendance fee of $125 per hour was charged for the

depositions of Sang Hoon Bae and Jimmy Kim because they were taken after regular business

hours to accommodate the schedules of the deponents. See Exhibit B. Whirlpool also requests

the recovery of court reporter parking fees of a total of $72.60 for the Robert Reitter deposition

and the Timothy Kavanaugh deposition. See Exhibit B; Exhibit C. The amounts presented in

Exhibit B include the respective court reporter fees and parking fee for the Reitter deposition.

The amount presented in Exhibit C includes the parking fee for the Kavanaugh deposition.

       b.      Transcripts

       The Judicial Conference has established the applicable per page rates for original copies

of transcripts: $3.65 for ordinary transcripts, $4.85 for expedited transcripts, $6.05 for daily


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  To the extent any of the supporting documentation contains sensitive personal or financial
information, it has been redacted to protect privacy.


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transcripts, $7.25 for hourly transcripts, and $3.05 for Realtime transcripts. N.D. Ill. L.R.

54.1(b); N.D. Ill. General Order 07-0024, September 18, 2007. Pursuant to Local Rule 54.1(b),

Whirlpool requests costs incurred for one original and one copy of each transcript, as set forth in

the subcategories below. For the ordinary transcripts, to the extent any per page rates exceeded

$3.65, Whirlpool reduced the amount requested to reflect the $3.65 per page maximum allowable

rate.

               i.      Deposition Transcripts

        “The Court awards deposition charges if the deposition appears reasonably necessary in

light of the facts known at the time of the deposition.” Fairley v. Andrews, No. 03 C 5207, 2008

WL 961592, at *5 (N.D. Ill. Apr. 8, 2008) (St. Eve, J.), citing Little v. Mitsubishi Motors N. AM.,

Inc., 514 F.3d 699, 702 (7th Cir. 2008). Reasonable necessity is determined “in light of the facts

known at the time of the deposition, without regard to intervening developments that later render

the deposition unneeded[.]” Hudson v. Nabisco Brands, Inc., 758 F.2d 1237, 1243 (7th Cir.

1985), overruled on other grounds. Whirlpool noticed and deposed LG’s disclosed experts, and

the key LG employees, former employees, and third parties identified by LG as having been

involved with the development, marketing and advertising of LG’s dryers. Accordingly,

Whirlpool seeks costs related to an original and one copy of those deposition transcripts. See

Exhibit B. Whirlpool also seeks costs related to an original and one copy of transcripts for

depositions noticed and taken by LG. Id. The actual invoices that show cost per page and

number of pages are attached as Exhibit B.

        Costs for exhibits copied and attached by court reporters are recoverable if they are

“essential to understanding an issue in the case.” Fait v. Hummel, No. 01 C 2771, 2002 WL

31433424, at *2 (N.D. Ill. Oct. 30, 2002) (citation omitted). Whirlpool is seeking to recover




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court reporter costs related to deposition exhibits, which were essential to reviewing transcripts

and comprehending deposition testimony in this document-intensive case. The majority of these

costs are associated with copies of exhibits attached to the transcripts of depositions noticed and

taken by LG. Exhibit B.

       Whirlpool also seeks recovery of costs associated with the word indices in deposition

transcripts. Maher v. City of Chicago, No. 03 C 3421, 2007 WL 2908837, at *2 (N.D. Ill. Oct. 2,

2007) (allowing costs for word indices because “word indices in transcripts provide a resource

for both attorneys and the court; a resource that, while perhaps not indispensible, is nevertheless,

‘reasonably necessary.’”). To the extent there is a word index charge, it is reflected in the

deposition transcript invoices. Exhibit B.

       The total amount requested for all costs associated with the stenographic transcripts is

$35,771.35. See Exhibit B; Exhibit N, Ramsey Decl. ¶ 7.

       In addition to the stenographic transcripts, Whirlpool is also seeking recovery of

expenses for video-recording the depositions, as reflected in the attached Exhibit C. Little v.

Mitsubishi Motors N. AM., Inc., 514 F.3d 699, 702 (7th Cir. 2008) (emphasizing that “the rule-

makers intended to allow the costs of both video-recording and stenographic transcription to be

taxed to the losing party”). Both the stenographic transcripts and the videotapes were reasonably

necessary in the context of this case. Whirlpool noticed the depositions of many LG and third

party witnesses who reside outside the Court’s subpoena power and therefore would potentially

be unavailable for trial. See Engate, Inc. v. Esquire Deposition Svcs. LLC, No. 01 C 6204, 2006

WL 695650, at *2 (N.D. Ill. Mar. 13, 2006). In fact, videotaped depositions of LG’s employees,

former employees and unavailable third parties were ultimately used at trial, including

Weinstock, Martella, Kavanaugh, and Green. In addition to the costs associated with




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videotaping LG and third party deponents, Whirlpool is also seeking to recover the reasonably

necessary videoconferencing expenses related to the videotaped depositions of Sang Hoon Bae

and Jimmy Kim in Korea. See Exhibit C. Whirlpool is also seeking recovery of the cost of

obtaining a copy of the videotape for each of the witnesses LG noticed and deposed. Top

Tobacco, L.P. v. North Atlantic Operating Co., Inc., No. 06 C 950, 2007 WL 1149220, at *7

(N.D. Ill. Apr. 17, 2007) (“Knowing that its opponent possessed video tapes of these depositions,

it was reasonable and necessary for [defendant] to obtain copies. In such a hotly contested case,

[defendant] would have been ill-advised not to do so.”). Whirlpool seeks a total of $45,806.20

related to videotaped depositions, which do not include shipping charges. Exhibit C.

               ii.    Trial Transcripts

       Whirlpool seeks the recovery of costs related to an original and one copy of daily and

Realtime transcripts during the trial. See Exhibit D. This trial was complex and lengthy, and

daily transcripts were reasonable and necessary for direct and cross examination of witnesses and

for motion briefing during trial. See Majeske v. City of Chicago, 218 F.3d 816, 825 n.3 (7th Cir.

2000). Whirlpool cited to the daily transcripts in its motion for judgment as a matter of law filed

during trial. See Dkt. No. 620. Whirlpool also used the daily transcripts in the demonstrative

shown to the jury during its closing argument. Realtime transcripts were similarly necessary for

direct and cross examination of witnesses and for the presentation of exhibits. The total

requested for trial transcripts is $15,299.98. Exhibit D.

               iii.   Hearing Transcripts

       Whirlpool seeks the recovery of costs related to an original and one copy of hearing

transcripts as well. See Exhibit D.




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        An expedited transcript of the Court’s June 22, 2009 hearing on LG’s motion to compel

production of documents listed on Whirlpool’s Privilege Log was necessary and reasonable to

guide further action regarding the disputed documents. Id.

        Whirlpool is seeking recovery for the costs associated with Daubert hearing transcripts,

which were reasonably necessary for further proceedings, including the preparation of briefs and

for trial preparation. Id.

        Transcripts of the September 17, 2010 final pretrial hearing and October 1, 2010 status

hearing were necessary for trial proceedings. Id.

        It was also reasonably necessary to obtain a copy of the transcript from the post-trial

injunction hearing held on February 17, 2011 because the Court ordered simultaneous

supplemental briefing on evidence presented at the injunction hearing. Id.

        In total, Whirlpool seeks $3,544.90 for reasonably necessary hearing transcripts. Exhibit

D.

3.      Fees for Witnesses – 28 U.S.C. § 1920(3)

        a.      Lay Witnesses

        Witness fees are recoverable for a witness’ attendance at court or deposition under

Section 1920(3). T.D. v. La Grange Sch. Dist. No. 102, 349 F.3d 469, 480-81 (7th Cir. 2003);

Section 1821(b). Section 1821(b) limits witness fees to $40.00 per day for each day’s

attendance. Id. at 481. “Section 1821(b) also allows for the costs associated with ‘the time

necessarily occupied in going to and returning from the place of attendance at the beginning and




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end of such attendance or at any time during such attendance.’” Black & Decker, 2006 WL

3883921 at *3 (St. Eve, J.), quoting 28. U.S.C. § 1821(b).2

       A party may recover travel costs “‘to and from [the] witness’s residence’ and the place of

attendance ‘by the shortest practical route.’” Trading Technologies Int’l, Inc. v. eSpeed, Inc.,

750 F. Supp. 2d 962, 970 (N.D. Ill. 2010), quoting 28 U.S.C. 1821(c)(1). In addition,

“[s]ubsistence costs for witnesses are recoverable when ‘an overnight stay is required at the place

of attendance because such place is so far removed from the residence of such witness as to

prohibit return thereto from day to day.’” Id. at 971. “A subsistence allowance for a witness

‘shall be paid in an amount not to exceed the maximum per diem allowance’ set by the General

Services Administration.” Id., citing 28 U.S.C. 1821(d)(2). In October 2010, the per diem rate

for lodging in Chicago was $173.00 per day. The GSA rate for Meals & Incidental Expenses in

Chicago in October 2010 was $71.00, and the rate for the first and last calendar day of travel was

$53.25. Where actual subsistence costs were higher, Whirlpool has reduced the amount to the

per diem allowance.

       Whirlpool seeks a total of $21,284.84 for these costs, which includes both lay and expert

witnesses, as discussed below. Exhibit E.

       b.      Expert Witnesses

       As with lay witnesses, costs for witness fees, lodging, meals and incidentals are

recoverable for expert witnesses as well. “Under 28 U.S.C. §§ 1920(3) and 1821(d)(1), a

prevailing party is entitled to subsistence expenses for expert witnesses, which include

accommodation expenses.” Trading Technologies, 750 F. Supp. 2d at 973. Whirlpool is


2
 Whirlpool is only seeking recovery for Pam Klyn for the days on which she testified, and not
when she was there as the corporate representative. See Nat’l Diamond Syndicate, Inc. v.
Flanders Diamond USA, Inc., No. 00 C 6402, 2004 WL 1557765, at *4 (N.D. Ill. July 8, 2004)
(St. Eve, J.).


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requesting these costs for its expert witnesses for attendance at depositions, Daubert hearings

and trial. See Exhibit E. The recovery of witness fees and subsistence costs is not limited to the

days that an expert witness actually provides testimony. Costs such as attendance fees and a

subsistence allowance are also recoverable for the duration of an expert’s presence at trial to

observe the testimony and demeanor of the other party’s witnesses so as to effectively rebut their

testimony. See Nat’l Diamond Syndicate, Inc. v. Flanders Diamond USA, Inc., No. 00 C 6402,

2004 WL 1557765, at *4-5 (N.D. Ill. July 8, 2004) (St. Eve, J.)

       In addition, Fed. R. Civ. P. 26(b)(4)(C)(i) provides that “[u]nless manifest injustice

would result, (i) the court shall require that the party seeking discovery pay the expert a

reasonable fee for time spent in responding to discovery.” “Indeed, the Seventh Circuit has

concluded that expert witness fees pursuant [sic] Rule 26(b)(4)(C) are recoverable as costs under

Rule 54(d).” Fairley v. Andrews, No. 03 C 5207, 2008 WL 961592, at *4 (N.D. Ill. Apr. 8,

2008) (St. Eve, J.), citing Chambers v. Ingram, 858 F. 2d 351, 360-61 (7th Cir. 1988). “Courts

in this district have concluded that costs associated with the time spent preparing for a deposition

are recoverable, as well as the time attending the deposition.” Fairley, 2008 WL 961592 at *5

(St. Eve, J.); Chambers v. Ingram, 858 F. 2d at 360-61.

       Whirlpool seeks to recover $121,240.20 for reasonable expert witness fees for time spent

in responding to discovery by Whirlpool’s retained experts, including preparing for and

attending each of their depositions, as well as for the travel costs, subsistence, and witness fees

related to their depositions. See Exhibit K. The hourly rates of Whirlpool’s experts are as

follows:

            •   Dr. Ravi Dhar, marketing expert, $600.00

            •   Dr. Judith Levi, linguistics expert, $350.00




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             •   Dr. Subbaiah Malladi, technical expert; $395.00

             •   Dr. Stephen Nowlis, marketing expert, $500.00

             •   Raymond Sims, damages experts, $640.00

Exhibit K.

       Dr. Dhar spent a total of 44.75 hours preparing for and attending his deposition, as

reflected in the attached invoice. Id. Dr. Levi spent a total of 41.25 hours preparing for,

attending, and reviewing her deposition, as reflected in the attached invoice. Id. Dr. Malladi

spent a total of 36.5 hours preparing for and attending his deposition, as reflected in the attached

invoices. Id. Dr. Nowlis spent a total of 51.5 hours preparing for, attending, and reviewing his

deposition, as reflected in the attached invoices. Id. Raymond Sims spent a total of 52.5 hours

preparing for, attending, and reviewing his deposition, as reflected in the attached invoices. Id.

       The hourly rates charged by Whirlpool’s experts are reasonable given the witness’s area

of expertise; the necessary education and training required to provide the expert insight; the

prevailing rates for comparably respected available experts; and the nature, quality and

complexity of the discovery responses provided. Profile Prods., LLC v. Soil Mgmt. Techs., Inc.,

155 F. Supp. 2d 880, 886 (N.D. Ill. 2001). The experts’ CVs are attached as Exhibit L. In

addition, the amount of time each expert spent preparing for their deposition was reasonable

given the complexity of this case and the necessity of reviewing voluminous documents in

preparation. See, e.g., Nilssen v. Osram Sylvania, Inc., No. 01 C 3585, 2007 WL 257711, at *5

(N.D. Ill. Jan. 23, 2007) (determining that under the circumstances of the case, “based on the

extensive document review required, the complexity of the issues, and the breadth of the expert’s

report, a ratio of three times the length of the deposition is reasonable”).




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4.     Fees for Exemplification and Copies – Section 1920(4)

       a.      Exemplification

       In the Seventh Circuit, the term “exemplification” is broadly defined “as permitting an

award of the reasonable expense of preparing maps, charts, graphs, photographs, motion

pictures, photostats, and kindred materials …” Cefalu v. Village of Elk Grove, 211 F.3d 416, 427

(7th Cir. 2000). “The Seventh Circuit has stated that ‘exemplification’ must be read broadly to

include ‘a wide variety of exhibits and demonstrative aids’ which includes standard charts and

graphs as well as high-end ‘computer-based, multi-media displays.’” Horizon Hobby, Inc. v.

Ripmax Ltd., No. 07-CV-2133, 2009 WL 3381163, at *7 (C.D. Ill. Oct. 15, 2009), citing Cefalu.

“Under Cefalu, such expenses encompass not only graphs and charts, but also sophisticated

multi-media presentations, allowing for recovery of expenses for use of recent technological

advances.” Interclaim Holdings Ltd. v. Ness, Motley, Loadholt, Richardson & Poole, No. 00 C

7620, 2004 WL 557388, at *4 (N.D. Ill. Mar. 22, 2004).

       Whirlpool seeks recovery of third-party vendors’ exemplification work used to create and

present evidence to the Court and/or jury at hearings and the trial. See Haroco, Inc. v. Amer.

Nat’l Bank & Trust Co. of Chicago, 38 F.3d 1429, 1441 (7th Cir. 1994) (sustaining an award of

exemplification costs that included the expense of graphic services employed in preparing

exhibits for a summary judgment motion). This creation and exemplification of exhibits was

also necessary to further illustrate complex engineering and technical concepts. See Telular

Corp. v. Mentor Graphics Corp., No. 01 C 431, 2006 WL 1722375, at *7 (N.D. Ill. June 16,

2006) (agreeing with the prevailing party that “the demonstrative exhibits ‘greatly assisted in

communicating rather complex engineering concepts and other relevant issues to the jury,’ and

that the ‘enlarged exhibits [were] used often throughout the trial [and] … throughout Mentor’s


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closing argument.”). The use of technology for exemplification here was vital and not merely a

convenience or an extravagance. Trading Technologies, 750 F. Supp. 2d at 980-81. In support,

Whirlpool has submitted detailed invoices which identify the materials produced for use, the

work performed in creating and presenting the exhibits, and the number of hours spent on

specific tasks. Exhibit F; Vigortone Ag Products, Inc. v. PM Ag Products, Inc., No. 99 C 7049,

2004 WL 1899882, at *8 (N.D. Ill. Aug. 12, 2004). These costs were reasonably necessary to

prepare exhibits for presentation to the jury and Court at hearings and at trial, and were not a

mere extravagance.

       The use of courtroom technology in this case furthered Whirlpool’s ability to present the

necessary exhibits in an efficient and effective manner. Whirlpool’s technology consultant

projected exhibits and video on the projection screen in front of the jury, which not only allowed

the entire jury to see the same exhibit at the same time, but it also magnified the exhibit and

allowed counsel to quickly highlight relevant portions of the exhibit.

       Whirlpool seeks a total of $109,833.75 for this category of costs. Exhibit F.

       b.      Photocopying

       Parties are “not required to submit a bill of costs containing a description so detailed as to

make it impossible economically to recover photocopying costs.” Northbrook Excess & Surplus

Ins. Co. v. Proctor & Gamble, 924 F.2d 633, 643 (7th Cir. 1991); accord Black & Decker, 2006

WL 3883921 at *3 (St. Eve, J.). Rather, a prevailing party is “required to provide the best

breakdown obtainable from retained records.” Northbrook, 924 F.2d at 643.

       Whirlpool filed a total of 8,987 pages with the Court in this case. Whirlpool is seeking

recovery of $4,044.15 for costs associated with three sets of copies of each of those filings,




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including one courtesy copy for the Court and two internal copies at Reed Smith’s in-house rate

of $0.15 per page, which has been found presumptively reasonable. See Black & Decker v.

Bosch Tools, 2006 WL 3883921, at *3 (Nov. 20, 2006) (St. Eve, J.) (noting that in the Northern

District of Illinois, copy rates of $0.10 to $0.20 have been found to be reasonable); Exhibit M,

DePriest Decl. ¶ 3. In addition to the pleadings, Whirlpool incurred photocopying costs for

exhibits at depositions, hearings and trial. The total amount of photocopying costs requested is

$66,269.87. See Exhibit G.

       Whirlpool seeks recovery of costs related to electronic discovery, rather than costs for

hard copies of document products, because documents were produced electronically in this case.

“Costs for OCRing have been allowed where the documents are OCR’d in lieu of production of

hard copies.” Comrie v. IPSCO Inc., No. 08 CV 3060, 2010 WL 5014380, at *4 (N.D. Ill. Dec.

1, 2010), citing Business Systems Eng’g., Inc. v. Int’l Bus. Machines Corp., 249 F.R.D. 313, 315

(N.D. Ill. 2008). “Further, costs for pre-production copying have also been allowed. Id. (stating

that, ‘Identifying and copying documents that may be responsive to a document request are

necessary steps in any document production’).” Id. “[A] prevailing party is entitled to costs

associated with copying documents in response to document requests, even if not all of those

documents are eventually produced.” Comrie, 2010 WL 5014380 at *5, citing Business Systems,

249 F.R.D. at 315. Accordingly, Whirlpool is requesting a total of $70,585.12 for costs relating

to the scanning, processing and OCRing of documents in response to LG’s discovery requests

and other discovery issues. See Exhibit H, Exhibit N, Ramsey Decl. ¶ 11.

       For trial, the Court requested electronic copies of all exhibits, and electronic exhibits

were used during witness examinations and attorney arguments. Whirlpool is seeking a total of




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$30,136.39 for third-party vendor costs associated with the process of scanning and creating a

complete set of electronic trial exhibits and preparing CDs for the Court. See Exhibit I.

5.     Compensation of Interpreters – Section 1920(6)

       Whirlpool seeks the recovery of $9,564.07 for oral interpretation services for the

deposition of LG witnesses and for trial pursuant to Section 1920(6). Exhibit J. Costs for check

interpreters are recoverable. Trading Technologies, 750 F. Supp. 2d at 983.

       WHEREFORE, Whirlpool respectfully requests that the Court enter an Order awarding

Whirlpool costs in the amount of $530,381.67.

Dated: September 9, 2011                     Respectfully submitted,


                                             WHIRLPOOL CORPORATION

                                             By /s/ Brian D. Roche

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 Attorneys for Defendant, Whirlpool Corporation




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                                CERTIFICATE OF SERVICE

       I, Brian D. Roche, an attorney, hereby certify that on September 9, 2011, I filed

WHIRLPOOL CORPORATION’S BILL OF COSTS with the Clerk of the Court using the

ECF system, which will send notification of such filings to the following individuals:

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